      Case 1:16-cr-00776-VEC Document 645
                                      646 Filed 05/03/18 Page 1 of 2


MEMO ENDORSED                                              USDC SDNY
                                                           DOCUMENT
                                                           ELECTRONICALLY FILED
                                                           DOC #:
                                                           DATE FILED: 5/3/2018
               Case 1:16-cr-00776-VEC Document 645
                                               646 Filed 05/03/18 Page 2 of 2




Request DENIED. The July 20, 2018 sentencing for
Defendant Percoco will proceed as scheduled.
  SO ORDERED.

                                  5/3/2018


  HON. VALERIE CAPRONI
  UNITED STATES DISTRICT JUDGE
